Case 0:24-cv-60062-MD Document 68 Entered on FLSD Docket 05/07/2024 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                CASE NO.: 0:24-cv-60062-AHS

 CREELED, INC.,

        Plaintiff,
 v.

 THE INDIVIDUALS, PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A,”

        Defendants.
                                           /

      NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

        PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned

 counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against the following

 Defendant:

        4WDKING (Defendant No. 1 on Schedule “A” to the Complaint),

        WFLC (Defendant No. 112 on Schedule “A” to the Complaint),

        huepar_kingdom (Defendant No. 280 on Schedule “A” to the Complaint), and

        huepar_store (Defendant No. 281 on Schedule “A” to the Complaint).

 Date: May 7, 2024                             Respectfully submitted by,

                                               s/ A. Robert Weaver
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